                                                                  August 11, 2016




                                 JUDGMENT

                 The Fourteenth Court of Appeals
   MICHAEL JOE SORRELL AND SORRELL FAMILY LTD PARTNERS,
                         Appellants

NO. 14-15-00361-CV                          V.

 ESTATE OF BENJAMIN HARDY CARLTON, III, BY AND THROUGH ITS
   INDEPENDENT ADMINISTRATRIX DARLENE BARTON, Appellee
               ________________________________

      This cause, an appeal from the judgment signed January 27, 2015, in favor
of appellee, Estate of Benjamin Hardy Carlton, III, by and through its independent
administratrix Darlene Barton, was heard on the transcript of the record. We have
inspected the record and find no error in the judgment. We order the judgment of
the court below AFFIRMED.

       We order appellants, Michael Joe Sorrell and Sorrell Family LTD Partners,
jointly and severally, to pay all costs incurred in this appeal.

      We further order this decision certified below for observance.
